      Case 4:20-cr-06033-SMJ    ECF No. 22   filed 11/09/20   PageID.70 Page 1 of 2


                                                                           FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
1
                                                                  Nov 09, 2020
2                                                                     SEAN F. MCAVOY, CLERK




3                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,               No. 4:20-cr-06033-SMJ-1
5
                             Plaintiff,
6                                            ORDER ADOPTING STIPULATED
               v.                            PROTECTIVE ORDERS
7
     ALLEN RICHARD SMITH,
8
                             Defendant.
9

10       IT IS HEREBY ORDERED:

11       1.    The parties Stipulation Regarding Computer Forensic Review

12             Procedures for Child Pornography Contraband, ECF No. 20, is

13             GRANTED.

14             A.    Pursuant to Federal Rule of Criminal Procedure 16(d)(1) and the

15                   parties’ stipulation, the parties’ proposed Stipulated Protective

16                   Order Regarding Computer Forensic Review Procedures for

17                   Child     Pornography   Contraband,      ECF      No.       20-1,        is

18                   APPROVED, ADOPTED, and INCORPORATED in this

19                   Order by reference.

20       2.    The parties’ Stipulation for Protective Order Regarding Identification




     ORDER ADOPTING STIPULATED PROTECTIVE ORDERS – 1
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1                 of Minor Victims Pursuant to 18 U.S.C. § 3509, ECF No. 21, is

2                 GRANTED.

3                 B.    Pursuant to Federal Rule of Criminal Procedure 16(d)(1) and the

4                       parties’ stipulation, the parties’ proposed Stipulated Protective

5                       Order Regulating Identification of Minor Victims Pursuant to 18

6                       U.S.C. § 3509, ECF No. 21-1, is APPROVED, ADOPTED,

7                       and INCORPORATED in this Order by reference.

8          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

9    provide copies to all counsel.

10         DATED this 9th day of November 2020.

11                      __________________________
                        SALVADOR MENDOZA, JR.
12                      United States District Judge

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     ORDER ADOPTING STIPULATED PROTECTIVE ORDERS – 2
